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UNITED STATES DISTRICT COURT, - “Ene OF FICE

DISTRICT OF MASSACHUSETTS.
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UNITED STATES OF AMERICA ex rel,
JENNIFER L. TEITELBAUM,

Plaintiffs
Vv.

DELTA AIRLINES, Inc., AMERICAN
AIRLINES, INC., US AIRWAYS GROUP,
INC. d/b/a US AIRWAYS, CONTINENTAL
AIRLINES, INC. NORTHWEST AIRLINES,
INC., UNITED AIRLINES, INC., AIR
CANADA, CHINA EASTERN AIRLINES
CORPORATION LIMITED, CHINA
SOUTHERN AIRLINES CORPORATION,
DEUTSCHE LUFTHANSA, A.G., d/b/a
LUFTHANSA AIRLINES, SWISS
INTERNATIONAL, LTD., d/b/a SWISSAIR,
BRITISH AIRWAYS, PLC, d/b/a BRITISH
AIRWAYS, MIDWAY AIRLINES CORP.,
d/b/a MIDWAY AIRLINES, ALITALIA-
LINEE AEREE ITALIAN §.p.A, d/b/a
ALITALIA AIRLINES, SOUTHWEST
AIRLINES, CO., d/b/a SOUTHWEST

AIRLINES, VIRGIN ATLANTIC AIRWAYS,

AER LINGUS, AEROFLOT, AIR FRANCE,
AIR JAMAICA, AIR NEW ZEALAND,
LIMITED, d/b/a AIR NEW ZEALAND,
FRONTIER AIRLINES, HAWAIIAN
AIRLINES, IBERIA LINEAS AERGAS DE
ESPAN, SA, d/b/a IBERIA AIRLINES,
JAPAN AIRLINES COMPANY, LTD, d/b/a
JAPAN AIRLINES, KLM ROYAL DUTCH
AIRLINES, QANTAS EMPIRE AIRWAYS,
LTD, d/b/a QANTAS AIRWAYS, and
SINGAPORE AIRLINES,

Defendants

 

 

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piSTRICT COUR
‘setaict ol OF MASS

04°12450 MEL

RECEIPT #_ GORGES
AMOUNT $ 1$0.00
SUMMONS ISSUED__20
LOCAL RULE 4.1

WAIVER FORM
MCF ISSUED,

BY DPTY. CLK. &
DATE LPLA 4

 

COMPLAINT, OF UNITED STATES
(False Claims Act 31 U.S.C. §§ 3729 et seq.
and Common Law Causes of Actions)

SUA

MAGISTRATE JUDGE essa
 

 

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VI

VIL

VII.

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I. NATURE OF THE ACTION

1, The United States brings this action to recover treble damages and civil penalties under
the False Claims Act, 32 U.S.C §§ 3729-33, to recover all available damages and other monetary
relief under the common law or equitable theories of unjust enrichment, recoupment, disgorgement of
unlawfully earned profits, and for statutory restitution.

2. These claims are based upon false, fraudulent inducement claims and false statements
defendants made or caused to be made to the United States and to people who have forfeited airline
tickets and/or had nonrefundable tickets for airline travel and who paid one or more of the following

user fees on taxes to the defendants:

a. Passenger facility charge user fee;
b. Zip tax user fee; and
c. Foreign landing tax or user fee.

Il. JURISDICTION

3. The Court has subject matter jurisdiction over this action under 28 U.S.C. §§ 1331
and 1345 and supplemental jurisdiction to entertain the common law and equitable causes of action
pursuant to 28 U.S.C. § 1367(a). The Court may exercise personal jurisdiction over the defendants
pursuant to 31 U.S.C. § 3732(a) because at least one of the defendants resides or transactions
business in the District of Massachusetts.

Il. VENUE
4, Venue is proper in the District of Massachusetts, under U.S.C. § 3732 and 28 U.S.C.

§ 1391(b) and (c) because at least one of the defendants transacts business in this District.

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IV. PARTIES

5. The United States of America brings this action on behalf of its agencies such as the
Department of Transportation and Federal Aviation Administration, which agencies are involved in
the operations and collection of airline user fees.

6. The Plaintiff and relator, Jennifer L. Teitelbaum, is a citizen of the United States and
a resident of Sudbury, Massachusetts.

7. The defendant, Delta Air Lines, Inc. (“Delta”), is a Delaware corporation with its
executive offices located at 1030 Delta Boulevard, Atlanta, State of Georgia. Delta does business and
has qualified to do business in the Commonwealth of Massachusetts.

8. The defendant, American Airlines, Inc. (“American”), isa Delaware corporation with
its executive offices at 4333 Amon Carter Boulevard, Fort Worth, State of Texas, and it does business
and has qualified to do business in the Commonwealth of Massachusetts.

9. The defendant, US Airways Group, Inc., d/b/a US Airways (“US Airways”), is a
Delaware corporation with its executive offices located at 2345 Capital Drive, Arlington, State of
Virginia, and it does business and has qualified to do business in the Commonwealth of Massachusetts.

10. The defendant, Continental Airlines, Inc. (“Continental”), is a Delaware corporation
with its executive offices located at 1600 Smith Street, Houston, State of Texas, and it does business
and has qualified to do business in the Commonwealth of Massachusetts.

11, The defendant, Northwest Airlines, Inc. (“Northwest”), is a Minnesota corporation
with its executive offices located at 2700 Lone Oak Parkway, Eagan, State of Minnesota, and it does
business and has qualified to do business in the Commonwealth of Massachusetts.

12. The defendant, United Airlines, Inc. (“United”), is a Delaware corporation with its

executive offices located at 1200 E. Algonquin Road, Elk Grove Township, State of 2700 Lone Oak

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Parkway, Eagan, State of Minnesota, and it does business and has qualified to do business in the
Commonwealth of Massachusetts.

13. The defendant, Air Canada (“Air Canada”), is a Canadian corporation with its
executive offices located in Montreal, Province of Quebec, Dominion of Canada, and it does business
and has qualified to do business in the Commonwealth of Massachusetts.

14. The defendant, China Eastern Airlines Corporation Limited (“China Eastern”), is a
corporation organized in China with its executive offices located at 2550 Hoqqiao Road, Shanghai,
China and it does business and has qualified to do business in the Commonwealth of Massachusetts.

15. The defendant, China Southern Airlines Corporation Limited (“China Southern”), is
a corporation organized in China with its executive offices located at Baiyon International Airport,
Guang Zhuu, Guangdong 510405, China and it does business and has qualified to do business in the
Commonwealth of Massachusetts.

16. The defendant, Deutsche Lufthansa, A.G., d/b/a Lufthansa Airlines (Lufthansa
Airlines), is a corporation organized in Germany, with its executive offices located at Cologne,
Germany and it does business and has qualified to do business in the Commonwealth of
Massachusetts.

17. The defendant, Swiss International Airlines Ltd, d/b/a Swissair (“Swiss air”), is a
corporation organized in Switzerland with executive offices in Basel, Switzerland, and it does
business and has qualified to do business in the Commonwealth of Massachusetts.

18. The defendant, British Airways, PLC d/b/a British Airways (“British Airways”), is
a corporation organized in Great Britain with executive in Harmondsworth, Great Britain and it does
business and has qualified to do business in the Commonwealth of Massachusetts,

19, The defendant, Midway Airlines Corp., d/b/a Midway Airlines (“Midway Airlines”)

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is a corporation with executive offices at Durham, North Carolina and it does business and has
qualified to do business in the Commonwealth of Massachusetts.

20. The defendant, Alitalia-Linee Aeree Italiane S.p.A, d/b/a Alitalia Airlines (“Alitalia
Airlines’), is an Italian corporation with executive offices in Rome, Italy and it does business and has
qualified to do business in the Commonwealth of Massachusetts.

21. The defendant, Southwest Airlines Co., d/b/a Southwest Airlines (“Southwest
Airlines”), is a Texas corporation with executive offices in Dallas, Texas and it does business and
has qualified to do business in the Commonwealth of Massachusetts.

22. The defendant, Virgin Atlantic Airways, is a British corporation with executive offices
in Heathrow Airport, London England, and it does business and has qualified to do business in the
Commonwealth of Massachusetts.

23. The defendant, Aer Lingus, is an Irish corporation with executive offices in Dublin,
Ireland and it does business and has qualified to do business in the Commonwealth of Massachusetts.

24. The defendant, Aeroflot, is a Russian corporation with regional offices in New York,
New York and it does business and has qualified to do business in the Commonwealth of
Massachusetts.

25. The defendant, Air France, is an French corporation with executive offices in Paris,
France and it does business and has qualified to do business in the Commonwealth of Massachusetts.

26. The defendant, Air Jamaica, is a Jamaican corporation with regional offices in Miami,
Florida and it does business and has qualified to do business in the Commonwealth of Massachusetts.

27. The defendant, Air New Zealand Limited, d/b/a Air New Zealand, isa New Zealand
corporation with executive offices in Wellington, New Zealand and it does business and has qualified

to do business in the Commonwealth of Massachusetts.

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28. The defendant, Frontier Airlines, is a Colorado corporation with executive offices in
Denver, Colorado and it does business and has qualified to do business in the Commonwealth of
Massachusetts.

29, The defendant, Hawaiian Airlines, is an Hawaiian corporation with executive offices
in Honolulu, Hawaii and it does business and has qualified to do business in the Commonwealth of
Massachusetts.

30. The defendant, Iberia, Lineas Aergas de Espana, SA d/b/a Iberia Airlines, isa Spanish
corporation with executive offices in Madrid, Spain and it does business and has qualified to do
business in the Commonwealth of Massachusetts.

31. The defendant, Japan Airlines, is a Japanese corporation with executive offices in
Tokyo, Japan and it does business and has qualified to do business in the Commonwealth of
Massachusetts.

32. The defendant, KLM Royal Dutch Airlines, is a Netherlands corporation with
executive offices in Amsterdam, Netherlands, and it does business and has qualified to do business
in the Commonwealth of Massachusetts.

33. The defendant, Qantas Empire Airways LTD d/b/a Qantas Airlines, is an Australian
corporation with executive offices in Brisbane, Australia and it does business and has qualified to do
business in the Commonwealth of Massachusetts.

34. | Thedefendant, Singapore Airlines, is a Singaporean corporation with executive offices
in Singapore and it does business and has qualified to do business in the Commonwealth of

Massachusetts.

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VY. THE LAW

33. The False Claims Act (FCA) provides, in pertinent part that:

(a) Any person who (1) knowingly presents or causes to be presented, to an officer
or employee of the United States Government or a member of the Armed Forces of
the United States a false or fraudulent claim for payment or approval; (2) knowingly
makes, uses, or causes to be made or used, a false record or statement to get a false
or fraudulent claim paid or approved by the government; (3) conspires to defraud the
Government by getting a false or fraudulent claim paid or approved by the
Government; or (7) knowingly makes, uses, or causes to be made or used, false
record or statement to conceal, avoid, or decrease an obligation to pay or transmit
money or property to the Government...

dR OK

is liable to the United States Government for a civil penalty of not less than $5,000
and not more than $10,000, plus three (3) times the amount of damages which the
Government sustains because of the act of that person.

36. 31 U.S.C. § 3729(a) and(b):

For purposes of this section, the terms "knowing" and "knowingly" mean thata person, with
respect to information (1) has actual knowledge of the information; (2) acts in deliberate
ignorance of the truth or falsity of the information; or (3) acts in reckless disregard of the
truth or falsity of the information, and not proof of specific intent to defraud is required.

VL_TIME PERIOD

37. Theclaims made herein are for a minimum of six (6) years from November 20, 1998
onward and for up to ten (10) years from November 20, 1994 as to the violations complaint of herein
constitute ongoing violations.

VII. PRIOR WARNINGS

38. On several occasions the expert retained on behalf of the relator tried to notify both
the Air Transport Association of America (ATA) and the Airlines Reporting Corporation (ARC) the
matter of the Defendant airlines’ refusal to return unused foreign taxes and user fees on non-refundable
or forfeited tickets, but to not avail. Both the ATA and the ARC saw this as a matter, which could have
potentially serious implications, and both refused to take any position or responsibility for the "unjust

enrichment." As the Defendant airlines would not consider refunding or paying to United States or

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respective government agencies the funds collected by them and the respective government agencies.
VI. DAMAGES
39. The United States was damaged because of the acts of the defendants in submitting
false or fraudulent statements and records of the user fees collected and by failing to pay to the United
States or to the ticket purchasers said collected user fees
40. The defendants knowingly made, used, or caused to be made or used false records or
statements to conceal, avoid, or decrease an obligation to pay or transmit money or property to the
Government, is liable to the United States Government for a civil penalty of not less than $5,000 and
not more than $10,000, plus 3 times the amount of damages which the Government sustains because
of the act of these person that persons and companies..
IX. CAUSES OF ACTION
COUNT I

(False Claims Act: Presentation of False Claims)
(32 U.S.C.§ 3729 (a)(1)

(AH! Defendants)

41. Plaintiff repeats and realleges each allegation in paragraphs | through 40, inclusive,
as if fully set forth herein.

42. All defendants, and each of them falsely and fraudulently as well as knowingly used
false records or statements which concealed and avoided paying debts and transmitted funds owed
to the United States.

43. By virtue of the false or fraudulent acts, statements and claims made by the defendants,
the United States suffered damages and therefore is entitled to treble damages under the False Claims

Act, to be determined at trial, plus civil penalty of $5,000 to $10,000 for each violation.

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COUNT II

(False Claims Act: Making or Using Faise Record or Statement)
(31 ULS.C.§ 3729 (a)(2))

(All Defendants)
44, Plaintiff repeats and realleges each allegation in paragraphs | through 40, inclusive,

as if fully set forth herein.

45. All defendants, and each of them knowingly used, or caused to be made or used, false

 

records or statements to conceal to avoid paying obligations owed the United States.
46. By virtue of the false records record or statements made by the defendants, the United
States suffered damages and therefore is entitled to treble damages under the False Claims Act, to be
determined at trial, plus civil penalty of $5,000 to $10,000 for each violation.
COUNT II

(False Claims Act: Reverse False Claims)
(31 US.C.§ 3729 (a)(7)

(All Defendants)

47. Plaintiff repeats and realleges each allegation in paragraphs 1 through 40, inclusive,
as if fully set forth herein.

48. All defendants, and each of them knowingly made, used, or caused to be made or used
a false record or statements to conceal, avoid, or decrease an obligation to pay or transmit money to
the United States.

49, By virtue of the false records record or statements made by the defendants, the United
States suffered damages and therefore is entitled to treble damages under the False Claims Act, to be

determined at trial, plus civil penalty of $5,000 to $10,000 for each violation.

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COUNT IV

(False Claims Act: Conspiracy)
(31 U.S.C.§ 3729 (a) (3)

(All Defendants)

50. _—_— Plaintiff repeats and realleges each allegation in paragraph 1 through 40 as if fully
set forth herein.

51. The defendants each submitted false claims, statements and records identified herein.

52. By virtue of the false records record or statements made by the defendants, the United
States suffered damages and therefore is entitled to treble damages under the False Claims Act, to be
determined at trial, plus civil penalty of $5,000 to $10,000 for each violation.

COUNT V
(Unjust Enrichment)
(All Defendants)

53. Plaintiff repeats and realleges each allegation in paragraphs 1 through 40 as if fully set
forth herein.

54. Thisisaclaim for the recovery of monies by which the defendants have been unjustly
enriched.

55. By directly or indirectly obtaining government funds to which they were not entitled,
all defendants were unjustly enriched, and are liable to account and pay such amounts, or the proceeds

or profits therefrom, which are to be determined at trial to the United States.

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COUNT VI
(Common Law Recoupment)
(All Defendants)

56. Plaintiff repeats and realleges each allegation in paragraphs | through 40 as if fully
set forth herein.

57. This is a claim for common law recoupment, for recovery of monies which each of the
defendants unlawfully kept for themselves and failed to pay to the United States.

58. Each of the defendants collected said user fees, which sums of money to which they
were not entitled and the defendants are thus liable under the common law of recoupment to account
and return such amounts, which are to be determined at trial, to the United States.

COUNT Vil
(Common Law Fraud)
(All Defendants)

59.  Plaintiffrepeats and realleges each allegation in paragraphs 1 through 40 as if fully set
forth herein.

60. Each of the defendants knowingly and intentionally made material and false
representations in their reports and payments to the United States with knowledge of their falsity or
reckless disregard for their truth, with the intention that the government act upon said
misrepresentations to its detriment. The government accepted such representations and reports and
acted in justifiable reliance upon those misrepresentations to its detriment, as millions of dollars of
collected user fees were wrongfully retained by the defendants.

61. Byreason of the above-stated actions by each of the defendants, the United States has

been damaged in a yet undetermined amount, which shall be proven at trial.

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COUNT VII

(Disgorgement of Illegal Profits, Imposition of a
Constructive Trust and an Accounting)

(All Defendants)

62. — Plaintiffrepeats and realleges each allegation in paragraphs 1| through 40 as if fully set
forth herein.

63. This claim is for disgorgement of unearned funds collected as user fees or taxes from
airline ticket purchasers which the airlines failed to pay to the plaintiff.

64. The United Stares, acting in reasonable reliance on the accuracy and truthfulness of the
defendants’ reports and representations, did not detect defendants’ false and improper conduct.

65. By this claim, the United States requests a full accounting ofall revenues (and interest
thereon) and costs incurred as well as the disgorgement of all profits earned from the said funds and/or

imposition of a constructive trust in favor of the United States on those profits.

COUNT IX
(Civil Conspiracy)
(All Defendants)

66. Plaintiff United States repeats and realleges each allegation in paragraphs | through
40 as if fully set forth herein.

67. The defendants joined together and committed a civil conspiracy to unjustly enrich
themselves with a manifest common plan of not informing the plaintiff of its rights to funds obtained
and the defendants were willing participants of the common plan and its execution to wrongfully retain
said funds and each took affirmative steps required in order to achieve this desired result. On several

occasions, requests were made to and the airlines association had been contacted as to the claims

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made herein of the airlines’ refusal to pay to the plaintiffs unused foreign taxes and user fees on

nonrefundable or forfeited tickets but to no avail.

68.  Asaresult of the defendants’ conduct, the plaintiff has suffered monetary losses and
the defendants are, or should be, jointly and severally liable to the plaintiff for making restitution as
prayed for herein.

X. PRAYERS FOR RELIEF

Wherefore, plaintiff prays for judgment as follows:

1. Judgment False Claims Act, against all defendants for the amount of the United States'
damages, trebled as required by law, and such civil penalties as are required by law, together with
all such relief as may be just and proper.

2. Judgment for unjust enrichment against all defendants for the damages sustained and/or
for an accounting and disgorgement of amounts by which defendants were unjustly enriched plus
interest, costs, expenses and reasonable attorney’s fees and such further relief as may be just and
proper.

3. Judgment recoupment and for the damages sustained by the United States, plus interest,
costs, expenses, reasonable attorney’s fees and such further relief as may be just and proper.

4. Judgment for restitution against the defendants for the losses sustained by the United
States.

5. Judgment for fraud and civil conspiracy against the defendants for compensatory and
punitive damages, together with costs and interest for such further relief as may be meet, just and
proper.

6. Judgement for disgorgement against all defendants, for an accounting and disgorgement
of the profits defendants obtained illegally, plus interest, costs, and expenses, and reasonable

attorney’s fees and such further relief as may be meet, just and proper.

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Respectfully submitted,

UNITED SATES OF AMERICA, EX REL
JENNIFER L. TEITELBAUM

By their attorney

“oe

Evans J. Gafter, ESq_(BBO #076560)
Hargraves, Karb, Wilcox & Galvani, LLP
550 Cochituate Road

P. O, Box 966

Framingham, MA 01701

(508) 620-0140

Dated: November 18, 2004

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AIRLINE TRAINING COUNCIL ‘
8 Wellesley Street East - Suite 1102
Toronto, Ontario M4Y 3B2 Canada

Tel: 416-922-3911

Fax: 416-922-0039

E-mail: postmaster@airlinetraining.org

 

Toronto, 18 December 2003

Mr. Evans J. Carter, P.C.

Attorney-at-Law

Hargraves, Karb, Wilcox, and Galvani, LLP
550 Cochituate Road

Framingham, MA 01701 USA

 

Dear Evans:

e: Potential Class Action Lawsuit Against Airlines [Op |

Thank you for the executed Expert Witness/Consulting Agreement and your check for USD
300.00. I am forwarding to you under separate cover a copy of the Agreement duly completed
from my side.

Further to our telephone conversation, I do believe that there is a substantial claim against the
airlines for monies collected as user fees and taxes which were never remitted to the assessing
authorities. As I stated, however, this would not apply to U.S. excise taxes (U.S. air
transportation tax), as this tax is.attracted to. the purchase of air transportation, not the usage of
it. ] am attaching, as a separate document, IRS Publication 510 (please see page 5).

Talso wish to state that I attempted on several occasions to rectify and clarify with both the
Air Transport Association of America (ATA) and the Airlines Reporting Corporation (ARC)
the matter of the airlines’ refusal to return unused foreign taxes and user fees on non-
refundable or forfeited tickets — to no avail. Both ATA and ARC saw this as a matter which
could have potentially serious implications, and both refused to take any position or
responsibility for this “unjust enrichment”.

I would be pleased to assist your proposed case if my services and expertise are deemed to be
appropriate and needed. Please let me know.

Thank you for giving me the opportunity to express my opinion in this matter.

Happy Holidays.

Sincerely yours,

Chace Jxhore

Bruce Bishins, CTC
Executive Director

EXHIBIT

A

 
 

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21544 (Rev. 399)

CIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein ndther replace nor supplement the filing and sergegot ings or other papers as required
by Jaw, except as provided by local rules of court. This form, approvedby the Judicial Conference of the United States.i tember 1974, is required for the
usé of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE/RE VERSE OF FHA HORM.)

I, (a) PLAINTIFFS DEFENDANTS

United States of America, ex rei

Delta AjmiLenysppetialy Dy
Jennifer L. Teitelbaum
(b) County of Residence of First Listed Plaintirr Middlesex
(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residendég ofirkd Lisdd (iC 7 C e of Georgia
(NET RUAITERCARHS ORLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.

 

 

-Framingham, MA 01701-0966

(c) Attorney's (Firm Name, Address, and Telephone Number)
Evans J. Carter, Esq.
HARGRAVES, KARB, WILCOX & GALVANI, LLP
550 Cochituate Road - P.O. Box 966

64°12450 MEL

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

IL BASIS OF JURISDICTION (Place an “X” in O ne Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIESe ace an “X "in One Box for Plaintiff
(For Diversity Cases Only) and One Box for De fendant}
DEF DEF
11 U.S. Govanment C3 Federal Question Citizen of This State (81 (11 Incorpomtedor PrincipalPlace (14 (14
Plaintiff (U.S. Govern ment Not a Party) of Business In This State
O12 U.S. Government O 4 Diversity Citizen of Another State O 2 012  Incorpomted and Principal Place (] 5 Bs
Defendant (Indicate Citizenship of Parties of Business In Another State
in Item 1) ’
Citizen or Subjectofa O83 03 ~~ Foreign Nation O6 O86
Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
D 110 Insurance PERSONAL INJURY FERSONALINJURY |0_ 610 Agriculture (J 422 Appeal 28 USC 158 0) 400 State Reapportionment
O 126 Marine © 310 Airplane OF 362 Personal injury— D620 Other Fond & Drug OF 410 Antitust
OD 130 Miller Act O1 315 Airplane Pwduct Med. Malpractice OD) 625 Drug Related Seizure | L] 423 Withdrawal 0 430 Banks and Banking
D) 140 Negotiable Instrument Liability 1 365 Personal Injury — of Propety 21 USC 28 USC 157 DO 450 Commerce/ICC Rates/etc.
0 150 Recovery of Overpayment] O 320 Assault, Libel & Product Liability 0 630 Liquor Lews (1 460 Deportation
& Enforcement of Slander CJ 368 Asbestos Personal D 640 R.R, & Truck PROPERTY RIGHTS OF 470 Racketeer Influenced and
O iudemesicare Act OC) 330 Federel Employers’ Injury Poduct D650 Airline Regs. O 820 copyrigh Corrupt Organizations
C1 152 Recovery of Defauked Liability Liability DC 660 Occupational Ol ear ae ts C1 810 Selective Service
Student Loans O 340 Marine PERSONAL FROPERTY Safety/Health CD sao te ad emerk C] 850 Securities/Commoditisa/
(Exel. Vetemns) 1 345 Marine Product O 370 Other Fraud O 690 Other om Exchange
D 153 Recovery of Overpayment Liability 0D 371 Truth in Lending O a7sc Challenge
of Veteran’ s Benefits Cl 350 M otor V chicle CJ 380 Other Personal LABOR SOCIAL SECURITY 12 USC 3419
CJ 160 Stockholders’ 5 nits C1 355 M otor Vehicle Property Damage . C1 891 Agricultural A cts
CJ 190 Other Contract Product Liability 01 385 Property Da mage O 19 an Labor Sundards o $62 Bleck Lang (923) 0 992 Economic Stabilizatbn Act
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REAL PROPERTY CIVIL RIGHTS — | PRISONER PETITIONS O 864 SSD Tek XVI 0 895 Freedom of
- 1 730 Lebor/M gmt.Reporting}] 01 865 RSI (405(g)) Information Act
OF 216 Land Condemnation OD 44: Voting O 510 Motions to Vacate & Disclosure Act Doeo0 2 on an * of Fee
1 220 Fores losure O 442 Employment Sentence 0) 740 Raitway Labor Act FEDERAL TAXSUITS Determine aual ‘Access to
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O 240 Torts to Land Accommod ations O 530 General 1) 790 Other Labor Litigation oer da, t im O 95sec " ° tionality of
O1 245 Tort Product Liability Cl 444 Welfare (] 535 Death Penalty or Defendant) Sta eS en id
O1 290 All Other Real Property | C1) 440 Other Civil Rights a 40 Mandamus ® Omer |O 791 Emp Ree i OF 871 ins —Third Panty KW 290 Other Statutory Actions
O 555 Prison Conditon 26 USC 7608 , FALSE CLAIMS ACT
(PLACE AN “X” IN ONE BOX ONLY) Appeal to
Vv. ORIGIN Transferred from District
another district Judge from
[X! Origin) © 2 Removedfrom 3 Remanded from C) 4 Reinstated or (15 (specify) O16 Multidistrict O 7 Magistrate
Proceeding State Court Appellate Court Reopened Litigation Judgment

 

 

(Cite the U.S. Civil Sttute underwhich you are filing and write bref statment of cause.
VI. CAUSE OF ACTION Do not cite jurisdictional statutes unless diversity.)

31 U.S.C.

   
      

§§ 3729 et se

- -:False Claims Act

 

 

 

 

VIL.-REQUESTED IN CHECK IF THISIS ACLASS ACTION DEMAND S$ rt
COMPLAINT: UNDER F.R.CP. 23 JURY DEMAND: Oves XINo
(see
VII. RELATED CASE(S) _ instructions):
IF ANY yee DOCKET NUMBER
11/18,
{18/04 Lo

Evans J. Carter, Esq.

 

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RECEIPT # AMOUN

cero

APPLYING IFP

JUDGE

MAG. JUDGE
 

: Case 1:04-cv-12450-MEL Document1 Filed 11/18/04 Page 18 of 18

UNITED STATES DISTRICT COURT

 

 

DISTRICT OF MASSACHUSETTS
md ~
1. Title of case (name of first party on each side only) United States of America, Fo Edd qeppiter |. .
Teitelbaum v. Delta Air Lines, Inc., et al. Od, FRAG Urrive
2. Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover “oO Wr u
ty KE
local rule 40.1{a)(1)). 7004 NOY 18
IL. 160, 410, 470, R.23, REGARDLESS OF NATURE OF SUIT. - IS r aac 1 co UJ R |
asda Qj
Il. 195, 368, 400, 440, 441-444, 540, 550, 555, 625, 710, 720, 730, sapiicd ‘2 Fab Ane 121
740, 790, 791, 820%, 830*, 840*, 850, 890, 892-894, 895, 950. for patent, trademark or copyright cases
All. 110, 120, 130, 140, 151, 190, 210, 230, 240, 245, 290, 310,

315, 320, 330, 340, 345, 350, 355, 360, 362, 365, 370, 371

300,385,450, . 12.450 MEL

Oo 0 bo

Iv. 220, 422, 423, 430, 460, 510, 530, 610, 620, 630, 640, 650, 6 4A ~
690, 810, 861-865, 870, 871, 875, 900.
Vv. 150, 152, 153.
3. Tite and number, if any, of related cases. (See local rule 40.1(g)). If more than one prior related case has been filed in

this district please Indicate the title and number of the first filed case in this court.

 

4, Has a prior action between the same parties and based on the same claim ever been filed in this court?
YES CI NO Ix |
5. Does the complaint in this case question the constitutionality of an act of congress affecting the public Interest? (See
28 USC §2403)

ves |] no -]
ves ||] no [|

If so, is the U.S.A. or an officer, agent or employee of the U.S. a party?

6. ls thls case required to be heard and determined by a district court of three judges pursuant to title 28 USC §22847
x
YES ‘= NO
7. Do ail of the parties in this action, excluding governmental agencies of the united states and the Commonwealth of
Massachusetts (“governmenta! agencies”), residing in Massachusetts reside in the same divislon? - (See Local Rule
40.1{(d)).
es
YES [] NO
A. lf yes, in which division do_alj of the non-governmental parties reside?
Eastern Diviston Central Division CI Western Division [|
B. If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental
agencies, residing in Massachusetts reside?
Eastern Division C] Central Division [| Western Division CJ
8. If fiting a Notice of Removal - are there any motions pending in the state court requiring the attention of thls Court? {If

yes, submit a separate sheet identifying the motions)

YES CI NO [|

(PLEASE TYPE OR PRINT)
ATTORNEY'S NAME__Evans J. Carter, Esq.

appress__ P.O. Box 966
TELEPHONE No. (908) 620-0140 E-Mail: ecarterG@hkwg.com

(Covershestiocal.wed - 10/17/02)
